
894 So.2d 1095 (2005)
Aiko WALKER, et al.
v.
BOSSIER MEDICAL CENTER.
Nos. 2004-C-1780.
Supreme Court of Louisiana.
February 25, 2005.
PER CURIAM.
Bossier Medical Center and the State of Louisiana seek review of a judgment of the court of appeal which declares La. R.S. 9:5628 unconstitutional. Pretermitting the merits, we observe that the court of appeal's opinion in the present case appears to be in conflict with Williams v. Jackson Parish Hospital, 33,847 (La.App. 2 Cir. 10/20/00), 768 So.2d 866, reversed on other grounds, 00-3170 (La.10/16/01), 798 So.2d 921, in which a different panel of that *1096 circuit found La. R.S. 9:5628 to be constitutional. The majority opinion in the case at bar does not distinguish Williams, nor does it overrule that decision.
In light of this apparent conflict within the circuit, we find it appropriate to vacate the judgment of the court of appeal and remand the case for an en banc hearing. See, e.g., Lamson Petroleum v. Hallwood Petroleum, 02-1338 (La.10/25/02), 832 So.2d 975.
KIMBALL, J., would grant and docket.
